Fill in this information to identify the case:

Debtor name         Strategies 360, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)     23-12303
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule       Schedule F
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       December 18, 2023               X /s/ John Rosenberg
                                                           Signature of individual signing on behalf of debtor

                                                            John Rosenberg
                                                            Printed name

                                                            Chief Financial Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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 Fill in this information to identify the case:

 Debtor name            Strategies 360, Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF WASHINGTON

 Case number (if known)               23-12303
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $       8,781,083.80

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $       8,781,083.80


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       3,665,639.30


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       7,286,473.99


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        10,952,113.29




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                Case 23-12303-TWD                                      Doc 61                Filed 12/18/23                         Ent. 12/18/23 12:42:09                              Pg. 2 of 6
Fill in this information to identify the case:

Debtor name        Strategies 360, Inc.

United States Bankruptcy Court for the:         WESTERN DISTRICT OF WASHINGTON

Case number (if known)          23-12303
                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $5,145.00
          Aaryn Ehlers                                                       Contingent
          2823 W. Walden Way                                                 Unliquidated
          Anthem, AZ 85086                                                   Disputed
          Date(s) debt was
                                                                            Basis for the claim: Professional Services
          incurred 10/31/2023 and 11/1/2023
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $2,125.00
          Barbara Haugen                                                     Contingent
          10244 39th Ave SW                                                  Unliquidated
          Seattle, WA 98146                                                  Disputed
          Date(s) debt was incurred 10/31/2023
                                                                            Basis for the claim: Professional Services
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $13,285.71
          Christopher J Posey                                                Contingent
          408 W. 11th Street                                                 Unliquidated
          5th Floor                                                          Disputed
          Austin, TX 78701
                                                                            Basis for the claim: Professional Services
          Date(s) debt was incurred 11/20/2023
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $1,600.00
          Crash Eleven Productions                                           Contingent
          11850 W Lewisburg Ct.                                              Unliquidated
          Boise, ID 83709                                                    Disputed
          Date(s) debt was incurred 10/3/2023
                                                                            Basis for the claim: Professional Services
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 4
                                                                                                          27718



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Debtor      Strategies 360, Inc.                                                            Case number (if known)            23-12303
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,000.00
         EDJE Consulting, LLC (Randall Edwards)                     Contingent
         6666 SE Yamhill                                            Unliquidated
         Portland, OR 97215                                         Disputed
         Date(s) debt was incurred 11/1/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,200.00
         ERP Buddies Inc                                            Contingent
         2425 Matheson Blvd E Suite 401                             Unliquidated
         Mississauga, ON L4W 5K4                                    Disputed
         CANADA
                                                                   Basis for the claim: Professional Services
         Date(s) debt was incurred 11/30/2023
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,386.88
         KnowBe4                                                    Contingent
         PO BOX 734977                                              Unliquidated
         Dallas, TX 75373-4977                                      Disputed
         Date(s) debt was incurred 11/20/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,281.25
         Kratz Consulting LLC                                       Contingent
         5333 Candlelight Drive                                     Unliquidated
         San Diego, CA 92037                                        Disputed
         Date(s) debt was incurred 10/30/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $142,650.00
         Live Strategies Group                                      Contingent
         Attn: Jason Badell                                         Unliquidated
         124 South 40 East Suite 310                                Disputed
         Salt Lake City, UT 84111
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $300.00
         MAP Retirement USA LLC                                     Contingent
         W6180 Aerotech Dr                                          Unliquidated
         Appleton, WI 54914                                         Disputed
         Date(s) debt was incurred 11/16/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $675.00
         Nextmark, Inc. (Bionic Ads)                                Contingent
         9450 SW Gemini Dr.                                         Unliquidated
         PMB 58999                                                  Disputed
         Beaverton, OR 97008-7105
                                                                   Basis for the claim: Professional Services
         Date(s) debt was incurred 11/1/2023
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 4




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Debtor      Strategies 360, Inc.                                                            Case number (if known)            23-12303
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,500.00
         Olympia Consulting Inc.                                    Contingent
         28431 Sheriden Drive                                       Unliquidated
         Laguna Niguel, CA 92677                                    Disputed
         Date(s) debt was incurred 11/24/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $288.44
         Pacific Printing                                           Contingent
         1445 Monterey Hwy                                          Unliquidated
         San Jose, CA 95110                                         Disputed
         Date(s) debt was incurred 10/23/2023
                                                                   Basis for the claim: Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,304.23
         Pride Electric Inc.                                        Contingent
         3200 NW Yeon Avenue                                        Unliquidated
         Portland, OR 97210                                         Disputed
         Date(s) debt was incurred 10/27/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $13,000.00
         RubinBrown LLP                                             Contingent
         PO Box 790379                                              Unliquidated
         Saint Louis, MO 63179-0379                                 Disputed
         Date(s) debt was
                                                                   Basis for the claim: Professional Services
         incurred 9/20/2023 and 10/31/2023
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,000.00
         Shan Tsutsui                                               Contingent
         2061 Kolo Place                                            Unliquidated
         Wailuku, HI 96793                                          Disputed
         Date(s) debt was incurred 7/30/23 and 11/30/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,464.00
         Teledata Technologies                                      Contingent
         7060 W. Warm Springs Rd.                                   Unliquidated
         Unit 190                                                   Disputed
         Las Vegas, NV 89113
                                                                   Basis for the claim: Professional Services
         Date(s) debt was incurred 11/10/2023
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $11,691.98
         Tempest Technologies LLC                                   Contingent
         1045 12th Ave NW                                           Unliquidated
         #F8                                                        Disputed
         Issaquah, WA 98027
                                                                   Basis for the claim: Professional Services
         Date(s) debt was incurred 11/16/2023
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 4




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Debtor       Strategies 360, Inc.                                                                   Case number (if known)            23-12303
             Name

3.19      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Trujillo, Jennifer and Anthony
          c/o Jason Bowles                                                  Contingent
          4811 Hardware Dr, NE                                              Unliquidated
          Building D, Suite 5                                               Disputed
          Albuquerque, NM 87109
                                                                           Basis for the claim: Asserted Litigation Claims
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?  No        Yes
3.20      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,500.00
          Waldron Strategies Inc.                                           Contingent
          604 Gladstone Avenue                                              Unliquidated
          Baltimore, MD 21210                                               Disputed
          Date(s) debt was incurred 11/1/2023
                                                                           Basis for the claim: Professional Services
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.    +   $                       213,397.49
5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          213,397.49




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 4




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